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                           UN ITED STA TES D ISTR IC T C O U R T
                           SO U TH ER N DISTRIC T O F FLO RIDA

                               CA SE N O .16-20345-C R -M O O R E

 UN ITED STA TES O F A M E RICA

 VS.

JEFFREY JA SO N CO O PER ,
      a/k/a çED r.Janardana D asa,''
      a/k/a O anardana,''
      a/k/a 64Jay,''
             Defendant.
                                           /

                                   O R D ER O F D ISM ISSAL

       A supersedinginfonnation wasfiled inthismatteron September13,2016 gDE 43)aspal4
ofa plea agreem entbetw een the parties and in anticipation ofthe defendant's entry ofa guilty plea

to the charges in the superseding infonnation. Thereafter,tw o change ofplea healings w ere held

in this m atter: the firstw as held on Septem ber 14,2016,and the second w as held on Septem ber

30,2016. D uring both hearings the defendantchallenged the factualbasis of the charges in the

superseding indictm entand did notenter a plea of guilty. A tthe conclusion ofeach hearing the

Courtw as notable to and did notaccepta g'uilty plea. Consequently,the U nited States form ally

withdrew its offer to allow the defendant to plead guilty to the superseding inform ation and is

proceedingtotrialontheindictmentgDE 12).
       Forthese reasons,the U nited States respectfully requests that the superseding inform ation

filedatdocketentry43bedismissed,andthatthematterproceedontheunderlyingindictment(DE
121.
       W HEREFORE,pursuantto Rule48(a)oftheFederalRulesofCriminalProcedureandby
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leave of Court endorsed hereon,the U nited States A ttonzey for the Southenz District of Florida

hereby dismisseswithoutprejudicethesuperseding information gDE 43jagainsttheabove-named
defendant. The underlying indictm entrem ains fully intactand pending.

                                                  Respectfully subm itted,


                                                   (
                                                  W IFRED O A .FERRER
                                                  UN ITED STA TES A TTO RN EY


 Leave ofCourtisgranted forthe filing ofthe foregoing Dism issal.



 ov E:   T           ??4 xa/g               HO .K .M ICH A EL M O O RE
                                            C EF UN ITED STA TES DISTR ICT JU D G E

 cc:   U.S.Attorney(Seth M .Schlessinger,AUSA)
       ZeljkaBozanic,Esq.
       U .S.M arshal
       ChiefProbation Officer
       PretrialServices
